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TIMOTHY S, THIMESCH, ESQ., ND. l4S2l3

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Atlern¢ s for Plsintiffs
1.ARR MC]V]:`,R, HOLLYNN D’LIL, ISC, INC.., RUSS BOHLKE, CHRJS'].`|NE FITZGERALD, CON'NIE
ARNOLD, and .IEFFR_EY EVANS
BOYD F, .IENSEN, II, ESQ. 0. 91058)
BETTY FRAC|SCO, ESQ. 0. 150658)
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433 Civic Center Drive West
Sante Ans, CA 92702-2002
Tel: 714/'550-0100
Atromeys for Defenclant RAY CAMMACK Sl-IOWS, INC.
U.S. DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
LARRY MCIVER and HOLL,YNN D’LIL, CASE NO. 5“2:01-1967 I'UM
, _ Civil sights
Plamtlffs,
v.
THE CALIFORNIA EXPOSITION 35 QH%%§§%YSREE WITH COURT

FAIR, aka “C£ll Expo”; STATE OF
CALIFORNIA; RAY CAMMACK SHOWS,
INC*; and DOES 1-5000, Inelusive,

 

Def`endants.
/
ISC, INC., RUSS BOHLKE, CHR|STlNl:`. C\ASE. NO. CIV~S-04-1790 KJM
FITZGERALD, CON'NIE ARNOLD, and Civll nghts
JEFFREY EVA.NS, Related Action

Plaintiffs,
v.

THE CALIFORNIA EXPOSITION &
FAIR, aka “Cal Ex 0”; RAY CAMMACK
SHOWS, IN'C.; an DOES `1-50,000, lnc:lusive,

Defendanl.s. /

 

l. Plaintifl`s LARRY MCIVER and HOLLYNN D’LIL filed the action
encaptioned Melv§r, el §l v. Cel Expe & Fair el al Case No.: S-01~1967 K.ll\/l (Hereei"ter “Mglver

Aelion") for themselves to enforce provisions of the Americsns with Disabilities Act of 1990
(“ADA”), 42 U.S.C. §§ 12101 et seq., and Califernia’s Civil R.ights laws, against defendants RAY
CAMMACK SHOWS, INC. (“Defendsnt(s)” and/or “`RCS”). Similarly, the plaintiffs ISC, INC.;

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RUSS BOHLKE; CHRISTINE`. FITZGERALD; CONNIE ARNOI..D; and JEFFREY EVANS filed
two separate proposed class actions against RAY CAMMACK SHOWS, [NC., filed two proposed
class actions encaptioned lSC: Inc ct al v. Cal Expo & Fair et al, Case No: ClV-S-04- 1790 EJG JFM
Lal. (U.S. District Court, Eastern District of California»Sacramento) (Hereaftcr “_I§Q Federai
Action”), and ISC, Inc et al v. §§gl E.,§pg § Fair et al Case No: 03ASO$963 (Superior Court of
California-Sacramento) (Hereafter, “§C”_ State Action”). Tbe plaintiffs in the LSQ actions likewise

sought to ensure enforcement of the Americans Witli Disabilities Act of 1990 (“ADA"), 42 U.S.C.

 

 

§§ 12101 et seq. Hereafter, the Plaintiffs in the three actions, i.e., the Mclver Action, the §§
I`;gd_er'ai Mio_n and the IS_C SLatg M, shall be referred to collectively and alternater as
“Plaintiffs'“ or “Named Plaintiffs.”]

2. Plaintiffs allege that Defendants violated Title 111 of the ADA, Section
302(b)(2) [42 USC 12182(b)(2)], and the corresponding “full and equal" access provisions of
Cali‘l`ornia Civil Codc Sections 51 and 54.1, et seq., by failing to comply Witb barrier removal
provisions to full and equal access to their privately owned rides, concessions and attractions
provided annually during the State Fair at Cal Expo in Sacramento, California.

3. De'|i`endant RAY CAMMACK SHOWS, l`NC. denies these allegations, and
by entering into this CONSENT ORDER, RCS does not admit liability to the allegations in
plaintiffs’ Complaint filed in this action. Tbe Parties hereby enter into this CONSENT OR_DER for
the sole purpose of resolving this lawsuit Without the need for protracted litigation.

I- M
4. The Parties agree that the Court has jurisdiction of this matter pursuant to

28 USC §133 1 for alleged violations of the Americans With Disabilities Act ot` 1990, 42 USC 12101

 

' Plaintiff Michael Dunne Was originally a named plaintiff in the Mclver Action, and
Plaintifl`Earl Welsh in the IS_C' Actions. Mr. Dunne Was dismissed Without prejudice by C|rder dated
October 14, 2004. A similar Stipulation and Proposed Order is now pending in relation to Mr.
Welsh.

 

COURT: Tlie docket does not reflect the filing cfa stipulation as to Mr. Welsb. Tbe court’s order
approving this consent decree with clarifications and modifications dismisses Mr. Welsh as a party
in this action

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et seq. and pursuant to pendant jurisdiction for alleged violations of California Civil Code Sections
54; 54.1; 54.3; and 55. '1` he Partics additionally acknowledge that for each disability classification
covered by this decree, the Named Plaintif.fs as a group have standing for Article III purposes to
pursue the injunctive relief claims resolved by this decree, and have so sufficiently demonstrated
with verifiable evidence of their disability, and their injury and future injury through sufficient
exposure and use ofthe park and its facilities covered hereunder. The Parties stipulate, however, that
the foregoing acknowledgment shall constitute privileged and confidential settlement matter that
shall not be admissible as evidence in any proceeding or trial concerning the damage claims of
Nan‘ied Plaintiffs. 'l`he Parties stipulate, however, that the foregoing acknowledgment shall
constitute privileged and confidential settlement matter that shall not be admissible as evidence in
any proceeding or trial concerning the damage claims ofNamed Plaintiffs.?'
II. RECITALS

5. The current operative complaint is Plaintiff`s’ Second Amended Complaint,
filed June 2, 2002. Plaintiffs will request permission to file a Third Amendcd Complaint in
conjunction with the submission of this Consent Decree to include the claims of certain named
plaintiffs in ISC v. Cal Expo, et al., Superior Court No. 03A305963 (hereafter “M State Action”)
and I§§ v Cal Expo, et al., U.S.D.C._, E. Dist. of Calif., No. CIV-S-04-1790 KJM (I-lereaher
“Federal M Action”). (Hereafter, the two ISC cases may be referred to as “The §§ Actions.”)
M Plaintiffs D’Lil and Mclver, and named M Plaintiff s Christine Fitzgcrald, Connie Amold,
R.uss Bohll<e, Jeffrey Evans and ISC, lnc. and Defendant Ray Camn‘iacl< Shows, lnc., along with
Defendants Cal Expo and the State ofCalifornia, who are both not parties to this Consent Decree,
have agreed to jointly stipulate to Plaintiffs’ filing of a Third An‘lended Complaint. The individual
Named Plaintiffs (excluding ISC, Inc.) are each persons with a Mobility Disability andfor Vision

Disability who regularly use the public facilities at Cal Expo.

 

2 COURT: The court clarifies that while the parties apparently have agreed they Will not
seek to admit the information referenced here, determinations of admissibility shall be made by the
court.

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6. The Parties joint stipulation provides that if the Court grants Plaintiffs leave
to tile a Third Amended Complaint that will incorporate the above-named §§ Plaintit`t`s and their
claims, that the Federal and State M Actions will be dismissed, if and when the Court approves the
Consent Deeree as provided elsewhere hercin. The Parties stipulation further provides, inter elia,
that the M Plainti ffs factual allegations incorporated into the '1`hird Amended Complaint shall relate
back to the date of the original filings of the respective Federal and State IS_C Actions, all Named
Flaintiffs' claims for attorneys fees, litigation expenses and costs incurred in the State and Federal

M actions shall be deemed incurred in the present Mclver action, and for this purpose the three

 

actions shall be deemed inextricably intertwined The Parties agree that the factual allegations in the
Third Amended Complaint shall relate back to the original filings in each of the respective individual
actions. This stipulation is supported by standard principals relating to tolling agreements and
waiver ot` defenses3
7. The Parties contemplate and understand that this Consent Decree fully

resolves any and all injunctive relief issues relating to Mobility and Vision Disabilit'ies.4 The Parties
agree that the Court has jurisdiction of this matter pursuant to 28 USC §1331 for alleged violations
of the Americans with Disabilities Act of 1990, 42 USC 12101 et seq. and pursuant to pendant
jurisdiction for alleged violations of California Civil Code Sections 54; 54.1; 54.3; and 55 . For
purposes of this consent decree, the Parties stipulate that each of plaintiffs have suffered and are

suffering sufficient injury in fact to pursue this action on behalf of the general public interest, and

 

3 CDURT: The court adopts the parties’ stipulation regarding the relation back of claims
with the clarification that the stipulation will be enforced to the extent allowable by law, with the
status of the law to be litigated at the time of any dispute based on the relation back doctrine

“ Plaintiffs’ Experts, Barry Atwood and Karl Danz, prepared a 3 volume report identifying
barriers to access on the midway, which shall provide helpful context as to this agreement
I-lowever, the signatory defendants are not required by this Deeree to perform the Work described in
the Atwood/Danz R.eport. lt is referred to here and defined below for the purpose of describing the
scope contemplated by the negotiations and compromise reached in this matter.

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have so demonstrated through sufficient evidence of exposure and use of the facilities and/or
deterrence5
111. DEFINITIONS
8. As used in this Consent Decree, the following terms shall have the meaning
ascribed to them in this Section. Except to the extent expressly stated to the contrary, any term not
defined in this Section, or elsewhere in this Consent Decree, that has an expressly defined meaning
in either the ADA or the regulations promulgated pursuant thereto (“Regulations") shall have the
meaning ascribed to it by the ADA or the Regulations, in that order of preference."‘l All other terms
shall be interpreted according to their plain and ordinary meaning
A. A])A
“ADA” means and refers to the Americans with Disabilities Act as contained at 42
U.S.C. § 12101 et seq.
B. ADAAG
“ADAAG” means and refers to the Americans with Disabilities Act Accessibility
Guidelines, codified at Appendix A to 28 Code of Federal Regulations, Part 36 and at Appendix A
to 49 Code of F ederal Regulations, Part 37.
C. APPROVAL
“Approved,” “Approval” or “Court Approval“ means and refers to thc approval by

the Court in Case Nc. S-2:01-1967 KJM of the terms of this Consent Decree, the concurrent

 

5 CDURT: As the court previously has advised the parties, it does not believe this decree
can be enforced to prevent parties not in privity with plaintiffs from bringing actions if such parties
otherwise have the right to do so. § I-leadwaters, ln§, v. U.S. Forest Service, 399 F.Bd 104'7, 1052-
54 (9th Cir. 2005). 'l` he court notes plaintiffs have never sought class certification or demonstrated
to the court in a manner to support the court’s independent determination that this consent decree
is structured to protect “strangers” to this case. E. at 1056. Thus, the court approves the decree’s
incorporation of language referencing “similarly situated members of the public” only to the extent
allowable by law, with resolution of res judicata to be resolved by litigation in the future to the extent
the question is raised by future filings

6 COURT: The parties have represented to the court that in the case of a conflict as to
meaning, the ADA will control.
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Stipulation for Leave to File the Third Amended Complaint, and the Court’s consent to maintain
jurisdiction to interpret and enforce the terms of this Consent Decree.
D. A’I`WOOD REPORT
“Atwood R_eport" means the 3 Vclume Report prepared by Plaintiii`s’ Consultant,
Barry Atwood, and served on Defendants as part ofexpert designations in this case. The report will
be maintained by plaintiffs’ counsel and made available upon request by any Party or person.
E. CALIFORNIA DISABILITY ACCESS LAWS
“California Disability Access l_.aws” refers to the Unruh Civil Rights Act, California
Civil Code §§ 51 et. seq., California Civil Code §§ 54 et. seq., Govemment Code §§ 4450 and 1135
et. seq., l-lealth and Safety Code §§ 19952 and 19955, as well as those portions of the Califomia
Building Code (Title 24 ofthe Code ofRegulations) that set forth scoping requirements for structural
access in new and altered facilitiesl
F. CONSENT DECREE

“Consent Decree” means and refers to this document, “Consent Decree and Order”.

G. COMPLIANCE
“Compliance,” “Compliant" and “Comply” mean and refer to substantial satisfaction
of the dictates of this Consent Decree and the performance standards specified herein.
H. DEFENDANT
“Defendant” means and refers to the RAY CAMMACK SI~IOWS, I'NC.
I. DEFENSE CGUNSEL
“Defense Counsel” refers to the law firm of Garrett dc .lensen.
J. MUBILITY DISABILITY
“Mobility Disability” means and refers to any physical impairment or condition that
substantially limits an individual’ s ability to move his or her body or a portion of his or her body and
includes, but is not limited to, orthopedic and neuro-motor disabilities and any other impairment or

condition that limits an individual’s ability to walk, maneuver around objects, ascend or descend

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steps or slopes, and operate controls. An individual With a Mobility Disability may use a wheelchair
or motorized scooter for mobility, or may be semi- ambulatory.

K. NAME]] PLAINTIFFS

“Named Plaintiffs” means and refers to Larry Mclver and HolLynn D’Lil, Christine

Fitzgerald, Connie Arnold, Russ Bohllte, Jeffrey Evans and lSC, lnc.

L. PARTIES
“Parties” means and refers to thc California Exposition & State Fair, State of
Califorru`a, l-lolLynn D’Lil and Larry Mclver, Christine Fitzgerald, Connie Arnold, Russ Bohllce,
.leffrey Evans and ISC, lnc.
M. PERFORMANCE STANDARDS
“Performance standards” shall mean and refer to those standards described and further
defined in paragraph VI(D).
N. PLAINTIFFS' COUNSEL

“Plaintiffs’ Counsel” means and refers to Thimesch l_.aw Offices.

O. RELEASED CLAIMS/RELEASED PARTIES
“Released Claims” and “R.eleased Parties” shall mean and refer to those claims and
Partics described and further defined in Section “V”.
P. 'I`HE COURT
“The Court” means and refers to the United States District Court for the Eastern
District of California and specifically Magistrate Judge Kimberly J. Mueller unless she becomes
unavailable, in which case another judge will be assigned to the case according to the Eastern
District’s Local Rules.

Q. TITLE 24

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“Title 24" means and refers to the regulations set forth at 'l`itle 24 of the California
Code of Regulations, 2001 edition, or the current version in effect at time of planning and work,
provided no undue burden is created by subsequent changes in the code.
R. V[SION DISABILITY
“Vision Disability“ means and refers to any impairment or condition that substantially
limits an individual’s ability to see. A person with a Vision Disability may be blind, legally blind,

or may have poor or low vision, which is not correctable through conventional eye wear.

IV. PURFOSE AND BINDI EFFECT
9. The Partics desire to resolve their differences and disputes by settling the

declaratory and injunctive relief claims in the Mclver lawsuit, as well as the declaratory and

 

injunctive relief claims of all IEQ Plaintiffs, subject to amendment ofthe claims and consent of the
Parties, so as to:

10. Resolve the claims for programmatic access brought by plaintiffs against
separate defendant California Exposition dc State Fair to the Midway facilities at Cal Expo for
qualified individuals with disabilities, including Mobility and Vision Disabilities, as required under
federal and state la\)v;7

1 1 . Provide ameans for physical access to certain negotiated rides, attractions and
concessions as required under federal and state law for qualifying individuals with disabilities;

12. Assure that no one, including the Named Plaintiffs, nor other persons similarly
situated, will attempt to enforce conflicting standards against the RCS’s carnival operation at Cal
Expo regarding compliance with Title III of the ADA;ti

13. Assure that, pursuant to the holding ofHeadwgters, lnc. v. U.S. Forest Service
(2005) 399 F.3d 1047, 1052, no one found to be in privity and adequately represented by the Named

Plaintiffs in this action, including the Named Plaintiffs, nor other persons similarly situated, shall

 

7 COURT: w footnote 5 above.

l CDURT: w footnote 5 above.
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hereafter assert the same claims for injunctive relief (arising out of the same nucleus of fact
necessary to establish liability), which would require Defendants to make additional and/or different
modifications to RCS's carnival operation at Cal Expo or to follow different standards beyond what
is agreed to herein, in order to comply with the existing obligations under provisions of Titles ll and

III of the ADA, Section 504, or Califomia disability access lavvs;,9 and

14. Avoid the uncertainties and costs of further and future litigation for all Parties.

l 5. Furtherrnore, RCS’ self-evaluations, guides and efforts, previously undertaken
pursuant to the Americans with Disabilities Act to ensure access to its programs, services, activities
and facilities, are hereby supplemented and amended by this Consent Decree.

16. This Consent Decree shall be binding upon Plaintiffs, on behalf of themselves
and all their individual heirs, agents, assigns, attorneys, and all other successors-in-interest
(hereinafter jointly and collectively designated “PLAINTIFFS”), and RAY CAMMACK SHOWS,
INC., and all other ownership or successors in interest owners cf RAY CAl\/IMACK SHOWS, INC.,
and for its officers, directors, members, employees, franchisers, franchisees, licensees, attorneys,
agents, insurers, owners, purchasers, shareholders, members, parent companies, subsidiaries and
affiliates and all of their respective predecessors, successors and assigns (hereinafter collectively
referred to as “Defendants” and/or ‘°RCS”)).

17. The Partics agree to entry of this Order in order to resolve the below listed
allegations raised in the Second Complaint filed with this Court on June 7, 2002, the First Amended
Complaint filed in the lS_C Federal Action lfiled on April 14, 2004, and the original complaint filed
in the lS_Q State Action on August 27, 2004. Accordingly, and subject to the Court’s Apprcval of
consolidation and the filing of a 'l`hird Amended Complaint, the Parties agree to the entry of this
CDNSENT DECREE without trial or further adjudication of any issues of fact or law concerning
the issues specified herein, and without prejudice to plaintiffs’ reservation of remaining damage

claims and for attorney fees, litigation expenses and costs.

 

9 COURT: §§ footnote 5 above.
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WHEREFORE, the Parties hereby agree and stipulate to the Court’s entry of this
CC)NSENT (]RDER, which provides as follows:
V. RESOLUTION OF INJUNQ [ !VE RELIEF
18. Except as specified in paragraph 38, below, this CONSENT DECREE shall
be a full, complete, and final disposition and settlement of the claims for injunctive relief that have
been or could have been alleged in the Complaint The Partics agree that there has been no admission
or finding of liability or violation of the ADA and/or California civil rights laws, and this CONSENT
GRDER should not be construed as such. 'l`he Court shall retain jurisdiction of this action to enforce
and interpret this C()NSEN'I` DECREE. The Parties agree that if they or any of them seek Court
enforcement of this CONSENT DECREE and Urder, any such enforcement will be by noticed
motion, application or other appropriate request for an order for specific performance and that a
contempt citation or decree will not be sought by any party.
l9. With respect to the injunctive relief claims resolved by this Order, the Parties
acknowledge that they Waivc thc provisions of and any benefits that may be conferred by Civil Code
section 1542 which reads:
A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
CREDITDR DOES NGT KN()W DR SUSPECT TD EXIST IN HIS UR HER
FAVOR AT THE TIME OF EXECUTING THE RELEASE, WI'IICH IF
KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED HIS
OR HER SETTLEMENT WITH THE DEBTOR.
The provisions of this paragraph shall not affect the reserved issues specified in paragraph 38,
below.
VI. INJUNCTIVE RELIEF
20. The defendants agree to perform the following work to provide disabled

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A. RIDES ANI) ATTRACTIONS:

2]. Time for Compliance. Unless other timg periods are specifically set forth
helm, it is hereby agreed between the Partics hereto that the Rides and Attractions identified below
Will be made “accessible" in accordance with their accompanying provisions Said obligations shall
commence August l, 2006 or the commencement of the California State Fair 2006. fn the case of
the Bumble Bee ride, the modifications shall be completed by August l, 2008 or the commencement
of the 2008 Califomia State Fair.

224 Ramps. RCS will modify 5 rides to provide disabled access via a ramp to the
respective loading platform. 'l`he 5 rides RCS designates are:

]) Bumble Bce

2) La Grande Whecl

3) Silver Streak

4) Sound Wave

5) Zipper
RCS may employ generic portable ramps that shall conform to the specifications provided for
“rarnps” under Title 24 and ADAAG regulationsl 'l`he ramps shall be extended to the ride platform
or to a point where thc patron may touch a single ride Vehicle. RCS shall develop a written policy
and enforced practice of not using the aforementioned ramps (and any access ramps added to other
rides in the future) for queuing customers. RCS shall further include within their training materials
and corporate policies the requirement to utilize ramps for other rides Where feasible, and exercise
good faith in implementing and enforcing this provision.

23. timber aide Modiricarinns.

a) RAY CAMMACK agrees that the following list of rides shall be made
further “accessible” in accordance with subparagraphs (b), (c) and (d), below:
l) Bad Lands Express
t 2) Bear Affair
3) Berry Go R.ound
4) Big Eli Wheel

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5) Bumble Bee
6) Carouscl
7) Chaos
8) Dragon Wagon
9) Free f~`all
lil) Ghost Pirates
ll) Hi Miler
12) Kamikaze
13) Kite Flyer
14) La Grande Wheel
15) Lolly Swings
16) Orbiter
\ 17) Rockin’ Tug
lS) Silver Streal<
19) Sky Ride
20) Sound Wave
21) Spidermania
22) Toon Town
23) Tornado
24) Twist
25) Wave Runner
26) Yo Yo
27) Zipper
b) For all rides and attractions owned by RCS with fenced enclosures,
including, but not limited to, any ride or attraction with a fenced enclosure that is identified above
in subparagraph 23(a) and below and at paragraphs 22 and 25, the gated entries shall be modified
where necessary to strictly comply with Title 24 and ADAAG to provide a minimum clear opening

of32 inches. This shall be accomplished within 3 years of the date of this Order. As new rides are

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purchased, 32 inch entry widths shall be specified, and where old entry gates are replaced, the new
entry gates shall have 32 inch minimum clear openings. Thresholds at the modified, purchased and
replaced entrances shall not exceed l/2 inch beveled per increment of rise.

c) For all rides and attractions owned by RCS, including, but not limited
to, any ride or attraction with a fenced enclosure that is identified above in subparagraph 23(a) and
below and at paragraphs 22 and 25, RCS shall prepare and maintain written materials and media
materials which can be used in training all current and future employees on the procedures and
policies regarding accessibility to Rides and Attractions. Said training shall be mandatory for all
employees on a yearly basis with reviews and on-the-job training as necessary. Said training shall
include operational guidelines; use of appropriate language, in the policies, procedures and signage
at or near Rides and Attractions; and the procedures for responding to special guest requests based
upon the nature of the disability, including temporary movement of fencing, gates or other barriers
normally required because of regulation or sal`ety. A special section of the operating procedures for
each applicable attraction shall include the appropriate text and shall be maintained on a yearly basis
at a central location and available for inspection and training

d) RCS shall provide appropriate signage for each of the applicable Rides
and Attractions indicating their accessibility to disabled patrons and applicable instructions

e) RCS shall, on a yearly basis, prepare a written brochure which contains
a general description of all its rides and attractions, with explanations of their accessibility and
whether special procedures such as “Accessiblc 'l`hrough Exit” as opposed to a regular quene line
apply. Said brochures shall be available at ticket booths and the Guest Relations Station. Accessible
midway routes Will be explained in situations where the existence of cables or terrain would
otherwise prevent access to the midway.

24. The Partics agree that there are extraordinary situations depending on last
minute changes, for example ride replacements, extreme Weather conditions or ride modifications
which could affect the ability of RCS to comply with these agreements respecting the Rides and
Attractions. lt is agreed that RCS may deviate from compliance with these standards if upon the

exercise of good faith and reasonableness unanticipated changes, modifications or the Weather make

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compliance impractical or impossible Such deviations shall be temporary and in no circumstance

exist longer than one season.

25. lt is agreed that Rides and Attractions where loading platforms exceed 60

inches in vertical rise above the adjacent grade or Where the attractions would require a fundamental

alteration in the nature of the activity to provide access are not subject to accommodation through

a ramp or other vertical means of access. Cnrrcnt examples of such rides are set forth below:

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Clown Glass House

Cuckoo House
Dragon Wagon
EuroSlide
Experience
Free F all

Fun Train
Ghost Pirates
Goliath Slide
Hi Miler
l-lydroSlide
lnverter
Kamikaze

Li’l Raiders
Mardi Gras
l\/loscow Circus
StarShip 2000
Survival Island

Tilt-a-Whirl

B. MIDWAY ACCESS

26. RCS shall prepare and maintain Written materials and media materials which

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can be used in training current and future employees on the procedures and policies regarding
lvlidway Access. Said training shall be mandatory for all employees on a yearly basis with reviews
and on-the-job training as necessary. Said training shall include operational guidelines; use cf
appropriate language, in the policies, procedures and signage at or near the Midway; and the
procedures for responding to special guest requests based upon the nature of the disability, including
temporary movement of fencing, gates or other barriers normally required because of regulation or
safety.

27. RCS shall provide appropriate signage for Main Midway Access Points
indicating routes, their accessibility to disabled patrons and applicable instructions

28. The foregoing l\/lidway Access obligations shall commence August l, 2006
or the commencement of the Califomia State Fair 2006.

C. CONCESSIGNS (Ticket Booths, Gamcs and Food)

29. The following obligations shall commence August l, 2006 or the
commencement of the California State Fair 2006:

30. All concessions trailers operated by RCS, or displaying an RCS logo, shall
have at least one counter that is mounted at a maximum height of 36 inches above the finished grade.
Use of folding shelves or portable tables mounted or situated immediately below one of the main
service windows for each concession trailer shall be sufficient compliance for purposes of this
paragraph

31 . At least 10%"J of the seating for portable dining and picnic tables supplied by
RCS at the State Fair shall be accessible, and to the maximum extent feasible, RCS shall provide at
least one table in each location where portable dining or picnic tables are provided on the MIDWAY.
“Accessible tables" shall have a minimum knee space of27 inches that extends a minimum of thirty
inches wide and that projects a minimum of 19 inches back from the front face. Such tables shall

be connected to an accessible route.

 

m C()URT: The court understands that the 10% calculation identified here will be based
on the total number of individual seats provided, rather than number of tables, without any rounding
off. For example, if 120 seats (e.g., 24 tables of 5) are available, 12 seats will be accessible.

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32. Prepare and maintain written materials and media materials which can be used
in training current and future employees on the procedures and policies regarding Concessions. Said
training shall be mandatory for all employees on a yearly basis with reviews and on-the-job training
as necessary. Said training shall include operational guidelines; use ol.` appropriate language_, in the
policies, procedures and signage at or near the Concessions; and the procedures for responding to
special guest requests based upon the nature of the disability, including temporary movement of
fencing, gates or other barriers normally required because of regulation or safety. A special section
of the operating procedures for each applicable concession shall include the appropriate text shall
be maintained on a yearly basis at a central location and available for inspection and training.

33. RCS shall provide appropriate signage for applicable CONCESSIDNS set
forth below indicating their accessibility to disabled patrons and applicable instructions Said signage
shall incorporate the regulatory and manufacturell stipulations and any additional accessibility
instructions or depictions shall not be inconsistent therewith. Said text may be incorporated into
existing signage with similar graphics as are now used for signage consistency and company colors
and logos.

l) Fun Fotos
2) Guest Relations
3) Big Dogs
4) lunior l-lot Shots
5) Race Time
6) Racers 'l`own
7) Squeezer’s Lemonade
8) Sugar Babes
9) Kiddie Shack
D. C(]NTRACTS WITH CONTRACTURS AND SUBCONTRACTOR

34. RCS will incorporate into all contracts with contractors and sub-contractors

 

11 COURT: The court reads this word as c‘manufacturer.”
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that they comply with the Ap‘_lgrigggs with Disabilities Act and the applicable RCS accessibility
obligations agreed to herein. The contractual language will include the following:

Contracior shall utilize the premises in an orderly manner and in compliance with all present and
jinure applicable Federal, State and local statutes ordinances rules and regulations including the
proper possession of any applicable licenses or permits Contractor shall parker comply with the
provisions ofthe Americgg.g with Disabilities Aer including local and national accessibility requirements

The requirements under this provision shall first apply to the 2006 Carnival season

commencing l"ebruary l, 2006.
E. TICKET BOOTHS

35. RCS agrees to include an accessible ticket booth at the location of each ticket

booth cluster on the Midway .

F. OPTION 'I`O CLOSE FAC!LITIES.

36. in lieu of making modification to any particular ride, facility or amenity
called for by this decree, the RCS may choose to sell or permanently close such facility or
arnenity from public use.

G. ENFORCEMENT

37. Should any Flaintiff in the future become aware of any facts or conditions
relating to the RCS that may give rise to a claim that RCS has failed to comply with any of the
injunctive relief provisions set forth herein, such Plaintiff shall, prior to seeking enforcement from
this Court, provide notice to RCS at its current address as registered with the Arizona Secretary of
State and to Defendant’s current counsel, Boyd lensen, Esq., in writing, addressed to his then current
addresses as registered with the State Bar. Defendant shall have sixty (60) days, following receipt
of such notification to undertake to correct the alleged violation and/or respond to Plaintiffs’
allegations Any response made by Defendant shall be in writing, addressed to Piaintiffs’ counsel,
Tim Thimesch of the Thimesch Law Officcs, at his then current address registered with the State
Bar, Plaintiffs’ counsel agrees to contribute pro bono up to three hours in any given calendar year
toward these informal negotiation efforts if such Plaintiff determines in his or her own good faith

discretion, that the matter(s) are not resolved by Defendant’s response, such Plaintiff shall be

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permitted to file a noticed motion under the current case number of this action seeking enforcement
of this CONSENT DECREE. The prevailing party in such motion proceedings whether in full or
in part, maybe entitled to an award of reasonable attorney fees, litigation expenses and costs for such
motion, which motion proceedings shall be pursuant to the normal prevailing party standards that
applied before the action’s dismissal.

38. The Partics have not reached an agreement regarding the statutory damages
claims of the I_§E plaintiffs CISC, ll\lC.; RUSS BOHLKE; CHR.ISTIN.E FITZGERALD; and
CD`NNIE ARNOLD) or the claims of all Named Plaintif fs for attorney fees, litigation expenses and
costs for this case, and reserve all such issues for trial or appropriate dispositionl The Partics have
recently settled the individual damage claims of plainti l`.fs LA.R.RY MCIVER and HULLYNN D’l_.ll_.,
which settlement is contingent upon the execution ofa standard release, the Court’s approval of this
Consent Decree, and payment of considerationl
VII. ATTORNEYS' FEES ANI) COSTS

39. Upon Court Approval of this Consent Decree Defendant will pay plaintiffs’
counsel’s reasonably incurred interim statutory attorneys fees, litigation expenses and costs incurred
in the l'\/lclver and two M Actions, if the Farties reach agreement on the total amount owed, within
60 days after Court Approval. Such fees shall be paid within 30 days of reaching an agreement

40. lf the Farties do not reach agreement on the amount of reasonable interim
attorney fees, litigation expenses and costs within 60 days after Court Approval, Plaintiffs’ Counsel
may thereafter file within 60 days a Motion to recover such fees, litigation expenses and costs
(including any available enhancement) for determination by the Court. Any litigation expenses,
including expert fees and costs1 attorney fees and court costs may be awarded by the court pursuant
to Christianberg Garment §§Q. v, EE§ !Q, 434 U.S. 412 (1973) or other standard deemed applicable
by the court.

41. Notwithstanding any statement in this Decree regarding Defendants’ dispute
of the allegations and/or non-admission and denial of liability, the Partics agree that Named Pl.aintiffs
have prevailing party standing to make a motion for reasonable fees, litigation expenses and costs.
Ray Camrnack reserves all rights to oppose such a motion.

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42. The determination shall be an order appealable directly to the Ninth Circuit
Court of Appeals.

VIII. COURT APPRDVAL OF CONSENT ]]ECREE

Within thirty (30) days following Ray Cammack’s approval of this Consent Decree, the
Partics shall jointly move the Court for an Order granting its Approval. The Parties agree to seek
such Approval from the Honorable Kimberly Mueller, Magistrate ludge, U.S. District Court for the
Eastern District of Califomia. Magistrate .ludge Mueller has indicated her willingness to oversee the
approval and enforcement process, and she possesses knowledge of this case’s history and an
understanding of the numerous technical and legal issues presented in this case.
IX. CONTINUING JURISDICTION

43. The Court shall retain continuing jurisdiction to interpret and enforce the

Consent Decree as provided herein and to determine fees, litigation expenses and costs, if necessaryl
The Court shall also retain jurisdiction to resolve Plaintist remaining claims for statutory and
compensatory damages12 Each and all of the agreements of the Partics in this Consent Decree are
contingent upon the Court granting leave for Plaintiffs to file a Third Amended Complaint as

contemplated herein, and the Court’s acceptance of aforesaid continuing jurisdictionl

X. MISCELLANEOUS

44. Counterparts. This Consent Decree may be executed in counterparts, each
of which will be considered an original, but all of which, when taken togethcr, will constitute one
and the same instrument Facsimile signatures shall be considered valid as of the date thereof,
although the original signature pages shall thereafter be appended to this Consent Decree and filed
with the Court.

45. luter'pr'etation . The language of this Consent Decree Will be construed as
a Whole according to its fair meaning, and not strictly for or against any ofthe Parties. The headings

in this Consent Decree are solely for convenience and will not be considered in its interpretation

 

12 CDURT: As of Se_ptember 26, 2005, plaintiffs’ damages claims have settled.
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Where required by context, the plural includes the singular and the singular includes the plural. This
Consent Decree is the product of negotiation and joint drafting so that any ambiguity will not be
construed against any Party.

46. chcrability . ln the event any portion of this Consent Decree is deemed to
be unenforceable, or is in conflict with applicable law, the remainder of this Conscnt Decree will be
enforced and will remain in full force and effect.

47, Non-Determination. The Court has made no findings concerning alleged
violations of any law, whether state or federal, local, regulation, order or rule at this time, and the
Partics expressly reserve the right to litigate these matters if this Consent Decree does not receive
Court Approval. The Parties agree that nothing in this Consent Decree may be interpreted as an
admission by any Party of any fact, legal principle, or conclusion. lf, for any reason, settlement is
not effectuated, or Court Approval obtained, no evidence of this proposed Consent Decree shall be
admissible for any purpose in the M Action, either of the M Actions, or other actions to be
brought by Named Plaintiffs or Pla.intiffs’ Counsel.

48. Entire Agrccment . This Consent Decree expresses and constitutes the sole
and entire agreement between the Parties and supersedes all prior agreements, negotiations and
discussions between the Parties and/or their respective counsel with respect to the subject matter of
the w Action, the M Actions, and/or this Consent Decree. The Consent Decree supersedes
any prior or contemporaneous oral or written agreements or understandings between and among the
Partics and/or counsel for the Parties regarding the subject matter of the M Action, the _I_S_Q_
Actions, and/or this Consent Decree.

49. Additional Documcnts . ’1`o the extent any documents are required to be
executed by any of the Parties to effectuate this Conscnt Decree, each Party hereto agrees to execute
and deliver such and further documents as may be required to carry out the terms of this Consent
Decree.

50. Ray Cammack.’s Approval. T he signature herein below of RCS’ Chief
Executive foicer and President, Guy Leavitt, indicates that he has obtained prior approval of this
document through RCS’ Board of Dircctors.

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51. Authority . Each Party represents to all other Partics that such Party has the
full power and authority to enter into this Consent Decree, that the execution and delivery thereof
Will not violate any agreement to which such Party is a party or by Which such Party is bound, and
that this Consent Decree, as executed and delivered, constitutes a valid and binding obligation of
such Party, enforceable in accordance with its terms The signatories to this Consent Decree
expressly warrant that they have been authorized to execute this Consent Decree and to bind their
respective Partics to the terms.and provisions herein.

52. Knowing Agreement . Each Party to this Consent Decree acknowledges that
it has been represented by legal counsel, and that each Party has reviewed, and has had the benefit
of legal counsel"s advice conceming, all of the terms and conditions of this Decree.

53. Successors. This Consent Decree shall be binding upon and inure to the
benefit of the respective heirs, successors, assigns and representatives ofthe Parties. 'l`o the extent
permitted by law, the Partics intend that this Consent Decree and Order shall additionally be binding
upon all persons with disabilities similarly situated to the Named Plaintiffs in relation to injunctive
relief claims, and that the terms of this Consent Decree shall have the effect of res judicata and/or
collateral estoppel against injunctive reliefclairns. l-lowever, the Decree shall not preclude claims
for damages by persons with disabilities, including under tort or as provided by statute.13

54. Non-Application to Defendants State of California and California
Exposition & State Fair. No part of this Consent Decree shall be construed to affect Named
Plaintifl`s’ ongoing legal claims, or any actions, against Defendants State of California and California
Exposition dc State Fair, which shall remain in full force and effect, except as to the 'fitle ll
obligations of such defendants in relation to the rides, attractions and concessions specifically
operated by RCS, as specified herein.'4

55. Appealability. Unless otherwise stated, any order issued by the Court

pursuant to this Consent Decree shall be appealable to the Ninth Circuit Court of Appeals.

 

13 COURT: §ge footnote 5 above.

"' C()URT: Concurrently with its qualified approval of this Consent Decree, the court is
approving a Consent Decree as to the State of California and California Exposition rfc State Fair.

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56. Deadlincs . Any deadlines imposed under this Decree shall be subject to the
extensions imposed by l"ed. Rules of Civ. Pro., Rule 6.

57. Consent Order Binding on Partics and Successors in Intercst. The Parties
agree and represent that they have entered into this CONSENT DECREE voluntarily, under no
duress, and wholly upon their own judgment, belief, and knowledge as to all matters related to this
CONSENT DECREE, nder having received full advice from counsel.

58. This CONSENT DECREE and Order shall be binding on Plaintiffs LARRY
MCIVER and HOLLYNN lIl*’l_,lL,15 Defendant RAY CAMMACK SHOWS, lNC.; and, any
successors in interest RAY CAMMACK SHOWS, lNC is one of several corporations or limited
liability companies working with RAY CAMMACK SHOWS, l'NC. These companies are referred
to together and individually as RAY CAMMACK Sl-IOWS, lNC. or Defendant(s). The Partics have
a duty to so notify all such successors in interest of the existence and terms of this CONSENT
DECREE and Order during the period of the Court’s jurisdiction of this CONSENT DECREE. To
the extent permitted by law, the Partics intend that this CONSENT DECREE and Order shall
additionally be binding upon all persons with disabilities similarly situated to Namcd Plaintiffs, and
that the terms shall have the effect of res judicata andlor collateral estoppel."5

59. Joint Preparation And Severability: This CONSENT DECREE and Order
is deemed jointly prepared by all Partics and shall not be strictly construed against any party as its
drafter. lf any term of this CONSENT ORDER is determined by any court to be unenforceable, the
other terms of this CONSENT ORDER shall nonetheless remain in full force and effect

60. Signato_ries Bind Parties. Signatories on the behalfof the Partics represent
that they are authorized to bind the Parties to this CONSENT DECR_EE and Order. Counterpal*ts.
This CUNSENT DECREE may be executed in counterparts signatures, and such signatures may be

attached in counterparts, each of which shall be deemed an original, and which together shall

 

'5 COURT: The court assumes reference to the lSC Plaintiffs (ISC, lnc., Russ Bohlke,
Christine Fitzgerald, Connie Arnold, and leffrey Evans) has been inadvertently omitted, and thus
reads this paragraph as incorporating said plaintiffs.

16 COURT: §e§ footnote 5 abovc.
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constitute one and the same instrument Such counterparts may be signed as faxed si gnatures, which

shall have the same force and effect as the original.

Dated: September 16, 2005

Dated: u___m_, 2005
Dated: , 2005
Dated: ____, 2005
Dated: , 2005
Dated: , 2005

Dated: September 16, 2005

Dated: , 2005

Dated: , 2005

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TlMOTHY S. THlMESCl“i

wade

Attorney for Plaintiffs

 

Plaintiff l-lOLLYNN D’LlL

 

Plaintiff LARRY MCIVER

 

Plaintiff CONN`IE ARNOLD

 

Plaintiff RUSS BOHLKE

 

Plaintiff Cl-lRlST-ll\lE FITZGERALD

51 am nw

Plaintiff JEFFREY EVANS

 

Plaintiff ISC, lNC.
Authorized Representative
Print Officer’s Name:
Officer’s 'l`itle:

BGYD JENSEN, ESQ.
BETTY FRACISCO, ESQ.
GARRETT & JENSEN

 

Attorneys for Defendant
RAY CAMMACK SHOWS, INC.

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Dated: , 2005

 

Defendant RAY CAMMACK Sl-IGWS, INC.
By Guy Leavitt, CEO and President of
RAY CAMMACK SHOWS, l'l\~lC.17

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W“'“““G*°"'“*NT 17 C()URT: 'l`he court acknowledges receipt of a copy of the proposed consent decree

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14 wm signed by all parties and counsel, and submitted to the court on September 21 , 2005.

BAC'RAM'ENTD, El\ 958-65

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